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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
www.fisb.uscourts.gov
In Re: PROCEEDING UNDER CHAPTER 13
Leslie Howard Roberts
Silvia Helena Roberts CASE NO.: 23-10086-RAM
Debtors. /

 

OBJECTION TO CLAIM ON SHORTENED NOTICE

IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
TO YOUR CLAIM

This objection seeks either to disallow or reduce the amount or change the priority status
of the claim filed by you or on your behalf. Please read this objection carefully to identify which
claim is objected to and what disposition of your claim is recommended. Upon the filing of this
objection an expedited hearing on this objection will be scheduled on the date already scheduled
for the confirmation hearing in accordance with Local Rule 3007-1(B)(2).

Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the debtor objects to the
following claim filed in this case:

 

| Claim ] . ‘Amount of Basis for Objection and a
No. Name of Claimant Claim Recommended Disposition
| The Claim is an attempt to collect on a debt
which is beyond the statue of limitations and

 

5-1 barred by Florida Statute 95.11, and

| Merrick Bank $1,120.63 | therefore the claim should be stricken from
| the Claims Register and Disallowed from
receiving distribution from the Chapter 13
_ Trustee. _ |

 

The undersigned acknowledges that this objection and the notice of hearing for this objection will
be served on the claimant and the debtor at least 14 calendar days prior to the confirmation hearing
date and that a certificate of service conforming to Local Rule 2002-1(F) must be filed with the
court when the objection and notice of hearing are served.

DATED:__ 2/22/2023

Respectfully Submitted,

The Law Offices of Patrick L Cordero, P.A.
Attomey for Debtor(s).

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By: __/s/ (FILED ECF)
Patrick L. Cordero, Esq., FBN 801992
